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      UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF ILLINOIS

     James Rutherford; and
     The Association for Equal
     Access,

                         Plaintiffs,              Case No. 1:16-cv-05880

            v.

     Brandy’s of Chicago, Inc.
     d/b/a Brandy’s Gyros; and
     Savvas Stolidakis,
     individually,

                        Defendants.



                       JOINT NOTICE OF
                 DISMISSAL WITH PREJUDICE
            Plaintiffs James Rutherford and the Association for Equal

     Access, through their attorneys (Jackson LLP), and Defendants

     Brandy’s of Chicago, Inc. d/b/a Brandy’s Gyros and Savvas

     Stolidakis, through their attorneys (Michael Lee Tinaglia Ltd.), file

     this joint notice of dismissal with prejudice pursuant to Federal Rule

     of Civil Procedure 41(a)(1)(A)(ii).

            1.      Because the parties have fully settled this matter, the

     parties agree to dismissal with prejudice.

            2.      Each party to bear their own fees, costs, and expenses

     associated with this lawsuit.
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               3.     All of the parties that have appeared have signed this

     notice.

     AGREED:                                   AGREED:

     JACKSON LLP                               MICHAEL LEE
                                               TINAGLIA LTD

     [s] Connor D. Jackson                     [s] J. Molly Wretzky
     Connor D. Jackson                         J. Molly Wretzky, Esq.
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     connor@jackson-legal.com                  (847) 692-0421
     Attorneys for Plaintiffs                  mltinaglia@tinaglialaw.com
                                               Attorneys for Defendants
     October 12, 2016                          October 12, 2016
     Date                                      Date


                          CERTIFICATE OF SERVICE

               I, Connor D. Jackson, Jackson LLP, do hereby certify that I

     provided service of this notice on October 12, 2016, to Defendants

     Brandy’s of Chicago, Inc. d/b/a Brany’s Gyros and Savvas Stolidakis

     by electronic service to their counsel of record at the time of filing.

     Signed,

     [s] Connor D. Jackson
     Connor D. Jackson
     Attorney for Plaintiff




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